     Case 6:23-cv-00013 Document 61 Filed on 07/17/23 in TXSD Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

STATE OF TEXAS,                                    )
GUN OWNERS OF AMERICA, INC.,                       )
GUN OWNERS FOUNDATION, and                         )
BRADY BROWN,                                       )
                                                   )     Case No. 6:23-cv-00013
   Plaintiffs,                                     )
                                                   )
       v.                                          )
                                                   )
BUREAU OF ALCOHOL, TOBACCO,                        )
FIREARMS AND EXPLOSIVES, UNITED                    )
STATES DEPARTMENT OF JUSTICE, and                  )
STEVEN M. DETTELBACH in his official               )
capacity AS THE DIRECTOR OF ATF,                   )
                                                   )
   Defendants.                                     )

        PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO STAY

       Defendants have moved to stay this matter pending the Fifth Circuit’s ruling in the

related expedited appeal in Mock v. Garland, No. 23-10359, noting that this Court stated,

“the resolution of that appeal will almost certainly affect” how the Court decides this case.

ECF 58 (motion to stay) at 1 (quoting the Court’s Order, ECF 51 at 3). But the Court also

noted that “Plaintiffs here raise some arguments that were not raised in Mock.” ECF 51 at

3. Defendants fail to acknowledge that this case includes arguments that were not made in

Mock. Plaintiffs informed the Fifth Circuit of some of those additional arguments in their

Mock amicus brief:

   First, the Second Amendment does not permit ATF’s “mother-may-I” approach to
   gun ownership. That is most especially true for weapons, like those at issue here,
   which closely resemble weapons that were ubiquitous at the Founding. Second, the
   NFA is an exercise of Congress’s taxing power—which means that, when ATF

                                               1
       Case 6:23-cv-00013 Document 61 Filed on 07/17/23 in TXSD Page 2 of 4




   operationalizes the statute, its rules cannot employ the “characteristics of regulation
   and punishment.” Dep’t of Revenue of Mont. v. Kurth Ranch, 511 U.S. 767, 779
   (1994). But ATF’s discretionary registration scheme does just that, denying some
   persons approval irrespective of their willingness to pay the tax, and then subjecting
   them to criminal prosecution. Third, the Brace Rule creates serious Fifth
   Amendment problems, forcing persons who already own stabilizing braces to admit
   to conduct that ATF now declares to have been criminal all along. 1

Mock (ECF No. 109-1) at 12. Plaintiffs further noted, “[i]f the Court rejects [the Mock]

Appellants’ arguments [in Mock], presumably it still would have to address amici’s

independent arguments in any appeal in [this] case.” Id. at 12 n.2.

        These independent arguments raise significant issues of first impression that the

Fifth Circuit may not address in Mock. These arguments may be the subject of a future

appeal of this case, regardless of how the Fifth Circuit rules in Mock. Plaintiffs anticipate

filing a motion for summary judgment which will include these arguments after Defendants

file an answer or other response to this case (currently due two weeks after any stay is lifted

or two weeks after the Court denies Defendants’ motion to dismiss; ECF 60).

Consequently, the Court should deny Defendants’ motion to stay.

        In any event, due to the Fifth Circuit’s greatly expedited treatment of the Mock

appeal, it can be expected that, even absent a stay, this Court would have the benefit of the

Fifth Circuit’s opinion in that case as it decides a summary judgment motion here. In other

words, there is no need to grant a stay to await an opinion that already appears to be

forthcoming.




   1
       Only the private amici—not Texas—advance these Fifth Amendment arguments.
                                                2
     Case 6:23-cv-00013 Document 61 Filed on 07/17/23 in TXSD Page 3 of 4




Respectfully submitted,
/s/ Stephen D. Stamboulieh               ANGELA COLMENERO**
STEPHEN D. STAMBOULIEH*                  Provisional Attorney General of Texas
Mississippi Bar No. 102784
Southern District of Texas No. 3554925   RALPH MOLINA**
Stamboulieh Law, PLLC                    Deputy Attorney General for Legal Strategy
P.O. Box 428
Olive Branch, MS 38654                   LEIF A. OLSON**
(601) 852-3440                           Chief, Special Litigation Division
stephen@sdslaw.us                        Texas Bar No. 24032801
                                         Southern District of Texas No. 33695
ANTHONY R. NAPOLITANO*
Arizona Bar No. 034586                   /s/ Charles K. Eldred
Southern District of Texas No. 3837680   CHARLES K. ELDRED**
Bergin, Frakes, Smalley & Oberholtzer,   Chief, Legal Strategy Division
PLLC                                     Texas Bar No. 00793681
4343 E. Camelback Road, Suite 210        Southern District of Texas No. 20772
Phoenix, Arizona 85018
(602) 848-5449                           CHRISTINA CELLA**
anapolitano@bfsolaw.com                  Assistant Attorney General
                                         Texas Bar No. 24106199
GILBERT J. AMBLER*                       Southern District of Texas No. 3355870
Virginia Bar No. 94325
Southern District of Texas No. 3834055   OFFICE OF THE ATTORNEY
20 S. Braddock St                        GENERAL OF TEXAS
Winchester, VA 22601                     P.O. Box 12548
(540) 550-4236                           Austin, Texas 78711-2548
gilbert@amblerlawoffices.com             (512) 936-1700
                                         Leif.Olson@oag.texas.gov
*Counsel for Plaintiffs Brady Brown,     Charles.Eldred@oag.texas.gov
Gun Owners of America, Inc., and Gun     Christina.Cella@oag.texas.gov
Owners Foundation
                                         **Counsel for Plaintiff State of Texas




                                         3
     Case 6:23-cv-00013 Document 61 Filed on 07/17/23 in TXSD Page 4 of 4




                            CERTIFICATE OF SERVICE

      I certify that on July 17, 2023, I filed this motion through the Court’s CM/ECF

system, which automatically served it upon all counsel of record.

                                                       /s/ Charles K. Eldred




                                              4
